                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      CASE NO. 3:23-MJ-423-DCK *SEALED*

 UNITED STATES OF AMERICA,                           )
                                                     )
               Plaintiff,                            )
                                                     )
    v.                                               )      ORDER
                                                     )
 ALZAAH WADE,                                        )
                                                     )
               Defendant.                            )
                                                     )

         THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To [Un]Seal

Complaint” (Document No. 5) filed December 12, 2023. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, the undersigned will grant

the motion.

         IT IS, THEREFORE, ORDERED that the Government’s “Motion To [Un]Seal

Complaint” (Document No. 5) is GRANTED. The Complaint in this case shall be unsealed.

         SO ORDERED.
                                Signed: December 12, 2023
